           Case 1:04-cv-01161-FJS Document 195 Filed 03/17/14 Page 1 of 13
                                 United States District Court
                                 For the District of Columbia



Case No.: 04-1161-FJS
Date: 17 March 2014
Presiding Judge: Frederick J. Scullin

       (X) Plaintiff                    ( )Defendant                       ( )Court

                             Admitted
 Exhibit     Marked for        Into      Remarks       Witness          Exhibit Description
Number      Identification   Evidence
                                                                  James Wall’s Recommendations
                                                                 to WWASPS as produced to me,
                                                                 undated.
P-1
                                                                  James Wall’s Recommendations
                                                                 to WWASPS, as produced by
                                                                 WWASPS, undated.
P-2
                                                                 Ken Kay’s response to Wall’s
                                                                 Recommendations, as produced
                                                                 by WWASPS, undated.
P-3
                                                                  E-Mail from James Wall to
                                                                 Tobin Beck, 12 January 2004
                                                                 regarding Thomas Houlahan’s
                                                                 fairness.
P-4
                                                                  E-Mail from Wall to Kay, 24
                                                                 October 2003 Regarding Wall’s
                                                                 strategy of portraying himself as
                                                                 a “quasi third party.”
P-5
                                                                  Document 06, E-mail from
                                                                 James Wall to Ken Kay
                                                                 regarding submission of letter to
                                                                 Tom Feyer of the New York
                                                                 Times, 17 September 2003.
P-6
                                                                  E-mail from James Wall to
                                                                 Melanie Abbott of the BBC
                                                                 regarding radio broadcast, 7
                                                                 October 2004.

P-7




                                              1
          Case 1:04-cv-01161-FJS Document 195 Filed 03/17/14 Page 2 of 13




                            Admitted
Exhibit     Marked for        Into     Remarks   Witness          Exhibit Description
Number     Identification   Evidence
                                                           E-mail from James Wall to Noel
                                                           Capon regarding BBC radio
                                                           broadcast, 25 October 2004.
P-8
                                                            E-mail from James Wall to Ken
                                                           Kay containing Wall’s e-mail
                                                           exchange with Andrew Smith of
                                                           the BBC, 21 October 2003.
P-9
                                                            Letter to Esther McWatters and
                                                           Rafael Rowe, regarding Locked
                                                           in Paradise documentary,
                                                           undated.
P-10
                                                            E-mail from James Wall to Ken
                                                           Kay containing Wall’s draft of
                                                           the Press Release announcing
                                                           lawsuit against Thomas
                                                           Houlahan, 4 February 2004.
P-11
                                                            E-mail from Ken Kay to James
                                                           Wall containing WWASPS’
                                                           revision to Wall’s draft of Press
                                                           Release announcing lawsuit
                                                           against Thomas Houlahan, 5
                                                           February 2004.
P-12
                                                            E-mail from James Wall to Ken
                                                           Kay questioning changes in
                                                           Wall’s draft of the Press Release
                                                           announcing lawsuit against
                                                           Thomas Houlahan, 5 February
                                                           2004.
P-13
                                                            PR Newswire Press Release
                                                           announcing lawsuit against
                                                           Thomas Houlahan
P-14
                                                           Proposal for representation from
P-15                                                       Wall to Kay, 27 June 2003.




                                           2
          Case 1:04-cv-01161-FJS Document 195 Filed 03/17/14 Page 3 of 13




                            Admitted
Exhibit     Marked for        Into     Remarks   Witness          Exhibit Description
Number     Identification   Evidence
                                                            E-Mail from Wall to Kay
                                                           containing Wall’s draft of the
                                                           Press Release announcing of
                                                           Freeman Wall’s Representation
                                                           of WWASPS and Gerry
                                                           Freeman’s revision thereof, 16
P-16                                                       July 2003.
                                                            E-Mail from Wall to Kay, 7
                                                           October 2003, recognizing the
                                                           possibility that Tranquility Bay
                                                           might have something to hide.
P-17
                                                           E-Mails between Wall and Josh
                                                           Hyatt discussing Spring Creek
                                                           Lodge, 29 November 2004.
P-18
                                                            E-Mail from Wall to Fred
                                                           Silvester 10 November 2004,
                                                           containing e-Mail from Silvester
                                                           to Wall, 5 February 2004
                                                           discussing lawsuit against
P-19                                                       Thomas Houlahan.
                                                            E-mail exchange between Ken
                                                           Kay and Tony Monterastelli
                                                           regarding the possibility of
                                                           changes in the Program, 14
P-20                                                       November 2003.
                                                            E-mail exchange between Ken
                                                           Kay and Wall regarding the
                                                           possibility of changes in the
                                                           Program, 14 November 2003.
P-21
                                                            E-Mail exchange Between Kay
                                                           and Wall, 17 November 2003
                                                           containing Kay’s
                                                           characterization of Thomas
                                                           Houlahan as “probably not a bad
P-22                                                       person.”
                                                           E-mail from Wall to Kay, 15
                                                           December 2003 containing
                                                           Wall’s account of Thomas
                                                           Houlahan interview of Jason
P-23                                                       Finlinson.


                                           3
          Case 1:04-cv-01161-FJS Document 195 Filed 03/17/14 Page 4 of 13



                            Admitted
Exhibit     Marked for        Into     Remarks   Witness          Exhibit Description
Number     Identification   Evidence
                                                            E-mail from Wall to Kay
                                                           regarding forwarding e-mail
                                                           correspondence between James
                                                           Wall and Thomas Houlahan to
                                                           the Philadelphia attorney, 29
                                                           January 2004.
P-24
                                                            E-Mail from James Wall to Al
                                                           Lewis containing forwarding e-
                                                           mail correspondence between
                                                           James Wall and Thomas
                                                           Houlahan, 10 November 2004.
P-25
                                                            E-Mail exchange between Wall
                                                           and Kay, discussing the
                                                           possibility of hiring a private
                                                           investigator to look through
                                                           Plaintiff’s background 27
                                                           January 2004.
P-26
                                                            E-Mail from Wall to Kay
                                                           regarding Erin Brockavich, 14
                                                           October 2004.
P-27
                                                           Enrollment Agreement,
                                                           Academy at Ivy Ridge, undated.
P-28
                                                           “Isn’t PR a synonym for BS?”
                                                           Denver Post, 20 July, 2007.
P-29
                                                            Assurance of Discontinuance,
                                                           Ivy Ridge, 10 August 2005.
P-30
                                                           Freeman Wall / Agency 33 Case
                                                           Studies, undated.
P-31
                                                            Fax from Wall to Tobin Beck
                                                           regarding Thomas Houlahan’s
                                                           contact with a former Casa by
                                                           the Sea enrollee, 23 February
P-32                                                       2004.




                                           4
          Case 1:04-cv-01161-FJS Document 195 Filed 03/17/14 Page 5 of 13




                            Admitted
Exhibit     Marked for        Into     Remarks   Witness           Exhibit Description
Number     Identification   Evidence
                                                            Ken Kay’s E-Mail to Robert
                                                           Lichfield, Re:Jan Bezuidenhout,
P-33                                                       23 Sep. 2003.
                                                            E-Mail From Kay to Lichfield, 9
                                                           September 2003, relaying Wall’s
                                                           opinion that Plaintiff was
                                                           WWASPS’ main worry and was
P-34                                                       “nuts.”
                                                            Excerpt From Ken Kay
                                                           Deposition in Montana Case
                                                           discussing his compensation as
P-35                                                       WWASPS’ president.
                                                            E-Mail From Lichfield to Kay,
                                                           12 January 2004 regarding
                                                           Wall’s attempts kill or delay the
P-36                                                       series.
                                                            WWASPS Conference Call
                                                           Notes 5 February 2003, Kay
                                                           indicates that he is not certain
                                                           suing Plaintiff was such a great
P-37                                                       idea.
                                                            E -Mail From Kay to Lichfield,
                                                           6 February 2004. Kay tells
                                                           Lichfield that Wall had told him
                                                           that suing Plaintiff was the best
P-38                                                       thing he’s ever had a client do.
                                                            E-Mail From Wall to Kay, 23
                                                           February 2004, Kay tells
                                                           Lichfield that Wall thinks
                                                           plaintiff is “shot in the credibility
P-39                                                       department.”
                                                            E-mail from Kay to Lichfield,
                                                           22 December 2004. Discussing
                                                           the fact that Casa by the Sea,
                                                           which had been shut down by the
                                                           Mexican government, had been
                                                           registered not as a school, but as
                                                           a hotel/resort. This had allowed
                                                           the facility to avoid the more
                                                           demanding requirements of
P-40                                                       operating as a school.




                                           5
          Case 1:04-cv-01161-FJS Document 195 Filed 03/17/14 Page 6 of 13




                            Admitted
Exhibit     Marked for        Into     Remarks   Witness           Exhibit Description
Number     Identification   Evidence
                                                           Phone Scripts/Bonuses for Program
                                                           Telemarketers.
P-41
                                                            Excerpt from Lichfield Deposition,
                                                           Karlye Newman Case, discussing
                                                           his receipt of a third of each
                                                           facility’s gross income.
P-42
                                                            Parent Satisfaction survey
P-43                                                       questions and results.
                                                            E -Mail From Kay to Lichfield, 30
                                                           March 2004 discussing Wall’s role
                                                           in throwing the press off the story of
                                                           a child who was beaten by his
                                                           transporters while handcuffed.
P-44
                                                            Interview Notes: Audrey Alexander
                                                           (Dundee Ranch)
P-45
                                                            Interview Notes: Celeste Marcus
                                                           (Ivy Ridge) and Statement of
                                                           Jessica Davis (Ivy Ridge)
P-46
                                                           Interview Notes: Kevin Eagan (Ivy
                                                           Ridge) and Mother, Diane Eagan
P-47
                                                            Interview Notes: Elliot Sainer
                                                           (AEG); Dr. Monica Applewhite
                                                           (Praesidium, inc.); Mary Caesare-
                                                           Murphy (JCAHO); Dr. Barry
                                                           Beyerstein, Dr. Philip Zimbardo,
                                                           Dr. Janja Lalich, Dr. Robert
                                                           Pandina, Dr. David Marans, Dr.
                                                           Michael Langone (Psychologists,
                                                           Psychiatrists); Lon Woodbury (Ed.
                                                           Consultant) Narvin Lichfield
                                                           (Dundee Ranch Owner): Joseph
                                                           Atkin (Dundee Ranch Director);
                                                           Michelle Ziperovich, Ellen
                                                           Anafrido, (Children at Tranquility
                                                           Bay); Martha Martin (Son at
                                                           Dundee Ranch); Alex Assefa,
                                                           Cassandra Caravella, Dan Herrera,
                                                           (Tranquility Bay); Tyler
                                                           Wagenseler (Casa by the Sea) and
                                                           Marie Rent (Morava Academy,
P-48                                                       Spring Creek Lodge)

                                           6
          Case 1:04-cv-01161-FJS Document 195 Filed 03/17/14 Page 7 of 13




                            Admitted
Exhibit     Marked for        Into     Remarks   Witness         Exhibit Description
Number     Identification   Evidence
                                                            Interview Notes: Erin Behrends
P-49                                                       (Tranquility Bay)
                                                            Interview Notes: Jennifer
P-50                                                       Fernandez (Dundee Ranch)
                                                            Interview Notes: Emily Estep
                                                           (Ivy Ridge, Tranquility Bay);
P-51                                                       Mary McDowell, her mother
                                                            Statement: Aaron Kravig
P-52                                                       (Tranquility Bay)
                                                            Statement: Alonzo Anderson
P-53                                                       (Dundee Ranch)
                                                            Statement: Ashley Vaughn
P-54                                                       (Dundee Ranch)
                                                            Statement: Chris Carbo (Dundee
P-55                                                       Ranch)
                                                            Statement:Cody Rouvinen
P-56                                                       (Dundee Ranch)
                                                            Statement:Dean Huffer (Dundee
P-57                                                       Ranch)
                                                            Statement: Gina White (Dundee
P-58                                                       Ranch)
                                                            Statement: Joel Snider (Dundee
P-59                                                       Ranch)
                                                            Statement: Kristen Whitchurch
P-60                                                       (Dundee Ranch)
                                                            Statement: Krystle Anderson
P-61                                                       (Dundee Ranch)
                                                            Statement: Lindsay Garner
P-62                                                       (Dundee Ranch)
                                                            Statement: Nathan Burnett
P-63                                                       (Dundee Ranch)
                                                            Statement: Rochelle Andrus
P-64                                                       (Dundee Ranch)
                                                            Statement: Lindsay Wise (Cross
P-65                                                       Creek, Tranquility Bay)
                                                            Statement: Nathan Lovelady
P-66                                                       (Ivy Ridge)
                                                            Statement: Robby Paige
P-67                                                       (Tranquility Bay)
                                                            Jessica Davis (Ivy Ridge)
P-68                                                       Affidavit



                                           7
          Case 1:04-cv-01161-FJS Document 195 Filed 03/17/14 Page 8 of 13




                            Admitted
Exhibit     Marked for        Into     Remarks   Witness          Exhibit Description
Number     Identification   Evidence
                                                            New York Times Casa by the Sea
P-69                                                       article
                                                            New York Times Spring Creek
P-70                                                       Lodge article
                                                            Articles examining the
                                                           Program’s involvement in
P-71                                                       politics
P-72                                                        Articles on the riot at Ivy Ridge
                                                            BBC Locked in Paradise
P-73                                                       transcript
P-74                                                        Articles on Tranquility Bay
                                                            Articles on problems with
P-75                                                       transporters
                                                            Articles on Utah aspects of
P-76                                                       theProgram
                                                            The Observer article by Decca
P-77                                                       Aitkenhead on Tranquility Bay
P-78                                                        Articles on Bell Academy
                                                            Articles on the closure of casa
P-79                                                       by the Sea
                                                            Articles on Carolina Springs
P-80                                                       Academy
                                                            Lou Kilzer’s “Last Resort”
P-81                                                       series
P-82                                                        Articles on Dundee Ranch
                                                            New York Times Dundee Ranch
P-83                                                       Articles
                                                            Fox News article on the
P-84                                                       Program
                                                            Watertown Times profile of Ivy
P-85                                                       Ridge Academy
                                                            Articles about Tranquility Bay
P-86                                                       runaways
                                                            Articles about the suicide at
P-87                                                       Tranquility Bay
                                                            Los Angeles. Times articles on
P-88                                                       the Program
                                                            Articles on Sunrise Beach, Casa
P-89                                                       by the Sea and High Impact
                                                            Missoula Independent profile of
P-90                                                       Spring Creek Lodge


                                           8
          Case 1:04-cv-01161-FJS Document 195 Filed 03/17/14 Page 9 of 13




                            Admitted
Exhibit     Marked for        Into     Remarks   Witness          Exhibit Description
Number     Identification   Evidence
P-91                                                        Article on Provo Canyon School
                                                            Prague Post Article on Morava
P-92                                                       Academy
P-93                                                        Article on Paradise Cove
                                                            U.S. Embassy Cable regarding
P-94                                                       Tranquility Bay
                                                            State Department cable regarding
P-95                                                       Paradise Cove
                                                            State Department cable regarding
P-96                                                       Paradise Cove
                                                            South Carolina Department of
                                                           Social Services investigation of
P-97                                                       Carolina Springs Academy
                                                            Dr. Kahler letter about Jessica
                                                           Davis’ physical condition after
P-98                                                       leaving Ivy Ridge
                                                            Manipulation letter to parents from
P-99                                                       Paradise Cove
                                                            Offer of tuition credit/cash to
                                                           parents referring other families to
P-100                                                      the Program
                                                            Freeman Wall Aiello/Agency 33
P-101                                                      WWASPS case study
                                                            Article on Wall taking the
P-102                                                      WWASPS account
                                                            Article on Wall’s potential
P-103                                                      involvement with Todd Bertuzzi
                                                            Article on Wall’s involvement with
P-104                                                      Todd Bertuzzi
P-105                                                       Article on Wall becoming CEO
                                                            Article on dissolution of Wall
P-106                                                      Aiello partnership
                                                            E-mail exchange between Plaintiff
                                                           and Monterastelli RE: rape and
P-107                                                      brain trauma at Dundee Ranch
                                                            E-mail exchange with Wall Re:
                                                           abuse, inappropriate placement,
                                                           flow of money in the Program and
                                                           rape and brain trauma at Dundee
P-108                                                      Ranch
                                                            Milwaukee Journal-Sentinal Article
P-109                                                      on Dundee Ranch
                                                            Time article on gay teens in
P-110                                                      lockdown facilities quoting Wall




                                           9
        Case 1:04-cv-01161-FJS Document 195 Filed 03/17/14 Page 10 of 13




                           Admitted
Exhibit    Marked for        Into     Remarks   Witness           Exhibit Description
Number    Identification   Evidence
                                                          Internet article on teen sent from
P-111                                                     Michigan to Spring Creek Lodge
P-112                                                     More Ivy Ridge articles
                                                           Cryptohominology Special No. 1
                                                          featuring Dr. Mathew Johnson, a
                                                          pro-Program authority directed to
P-113                                                     me by WWASPS.
                                                           Dr. Johnson’s description of his
P-114                                                     encounter with a Sasquatch.
                                                           Statement: Charlotte Greenbarg
P-115                                                     (Son in Tranquility Bay)
                                                          Statement: Christine Smith (Son in
                                                          Spring Creek Lodge and Tranquility
P-116                                                     Bay)
                                                           Statement: Judy Luck (Son in
P-117                                                     Tranquility Bay)
                                                           Statement: Lynn Tisevich (Son in
P-118                                                     Casa by the Sea)
P-119                                                      Houlahan Draft Articles
                                                          Two-page justification of series and
P-120                                                     Plaintiff’s method given to Beck
                                                          Ethics ant Methodology Memo sent
P-121                                                     by Plaintiff to Tobin Beck
P-122                                                     Rep. Ike Skelton’s Reading List
                                                          Plaintiff’s story on D.O.J. declining
P-123                                                     to investigate the Program
                                                          E-Mail from Plaintiff to Beck
                                                          contrasting his work and that of a
                                                          salaried UPI investigative reporter
P-124                                                     accompanied by a set of articles
                                                          E-Mail exchange between Wall and
P-125                                                     Beck, 9–29 January 2004
                                                          Early, cordial e-mails between
P-126                                                     Plaintiff and Wall
                                                          E-Mail from Monterastelli to a
                                                          parent re: her daughter’s health
P-127                                                     problems from Dundee Ranch
                                                          10 Sep e-mail from Wall to Plaintiff
P-128                                                     admitting problems in the Program
                                                          18 Oct. e-mail from Wall to Kay
P-129                                                     requesting higher fee.
                                                          21 Oct. e-mail from Wall to Kay
P-130                                                     requesting higher fee.
                                                          12 January 2004 e-mail from Dwan
                                                          Serrano to Robert Lichfield, Re: 10
P-131                                                     Action Items

                                          10
        Case 1:04-cv-01161-FJS Document 195 Filed 03/17/14 Page 11 of 13




P-132                                                 Directors meeting 14 Jan 2004
                                                      23 August 2004 e-mail from
P-133                                                 Dwan Serrano with attachment
                                                      20 July 2004 e-mail from Kay to
P-134                                                 Lichfield regarding goals.
                                                      20 April 2004 e-mail from Dwan
                                                      Serrano to Lichfield discussing
P-135                                                 90-Day notice plan
                                                      30 August 2004 e-mail from Jean
                                                      Foye to Robert Lichfield, Re;
P-136                                                 concerned telemarketer
                                                      E-Mail from Lisa Irvin to Ken
                                                      Kay, 19 November 2004
                                                      addressing relationship with
P-137                                                 Lynne Pretzfeld.
                                                      E-Mail from Jean Foye to Robert
                                                      Lichfield, 30 March 2004
                                                      addressing relationship with
P-138                                                 Lynne Pretzfeld.
                                                      E-Mail from Kathi Crozier to BBS
                                                      Help, 25 May 2003 regarding
                                                      Lynne Pretzfeld’s involvement in
                                                      transporting children from Dundee
                                                      Ranch to Tranquility Bay,
                                                      forwarded to Ken Kay on the same
P-139                                                 day.
                                                      Audio of Lou Kilzer interview
P-140                                                 with Ken Kay, Part I
                                                      Audio of Lou Kilzer interview
P-141                                                 with Ken Kay, Part II
                                                      Audio of Plaintiff’s interview with
P-142                                                 Joe Atkin
                                                      Audio of Plaintiff’s interview with
P-143                                                 Jason Finlinson
                                                      Audio of Plaintiff’s interview with
P-144                                                 Ken Kay, Part I
                                                      Audio of Plaintiff’s interview with
P-145                                                 Ken Kay, Part II
P-146                                                 Commercial for the Program
P-147                                                 48 Hours report on the Program
P-148                                                 Dateline report on the Program
                                                      Inside Edition report on the
P-149                                                 Program
P-150                                                 Prime Time report on the Program
P-151                                                 KENS report on Cross Creek



                                       11
        Case 1:04-cv-01161-FJS Document 195 Filed 03/17/14 Page 12 of 13




                           Admitted
Exhibit    Marked for        Into     Remarks   Witness         Exhibit Description
Number    Identification   Evidence
                                                          BBC Locked in Paradise
                                                          documentary about Tranquility
P-152                                                     Bay
                                                          French documentary about
P-153                                                     Tranquility Bay
                                                          Mexican surveillance footage of
P-154                                                     High Impact
                                                          Todd Bertuzzi attack on Steve
P-155                                                     Moore
P-156                                                     Sky News report on the Program
P-157                                                     Kay Interrogatories
P-158                                                     Wall Interrogatories
                                                          17–18 November 2003 e-mail
                                                          exchange between Plaintiff and
P-159                                                     Monterastelli Re: Jessica Davis
                                                          1 December 2003 e-mail
                                                          exchange between Plaintiff and
P-160                                                     Wall Re: Jessica Davis
                                                          13 January 2004 e-mail
                                                          exchange between Wall and Kay
                                                          on interviews and Wall contact
P-161                                                     with Beck
                                                          27 January 2004 Update from
                                                          Kay to Robert Lichfield and
P-162                                                     Brent Facer.
                                                          3 February 2004 Update from
                                                          Kay to Robert Lichfield and
P-163                                                     Brent Facer.
                                                          18 February 2004 e-mail
                                                          exchange between Kay and Wall
                                                          Re: Child from Alaska
P-164                                                     withdrawn from Casa by the Sea
                                                          27 January 2004 e-mail from
                                                          Kay to Robert Lichfield Re:
P-165                                                     Letter to Houlahan
                                                          18 December 2003 e-mail from
                                                          Wall to Plaintiff acknowledging
P-166                                                     injury to Mrs. Boatright’s son




                                          12
   Case 1:04-cv-01161-FJS Document 195 Filed 03/17/14 Page 13 of 13



                        CERTIFICATE OF SERVICE

I HEREBY CERTIFY that the foregoing Proposed Exhibit List was Served this 17th day
of March 2014 via ECF to:


Jack Lapidus, esq.
MACLEAY, LYNCH & LAPIDUS, P.C.
1629 K Street, N.W.
Suite 802
Washington, D.C. 20006


                                          /s/ Thomas G. Houlahan
                                         _________________________
                                         Thomas G. Houlahan,
                                         Plaintiff, Pro Se
                                         (202) 492-9973
